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Scott A. Griffin
Michael D. Hamersky
Richard K. Milin

Counsel for NYAM, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
In re:                                                                             :
                                                                                   :   Chapter 11
BCBG MAX AZRIA GLOBAL HOLDINGS, LLC, et al., :
                                                                                   :   Case No. 17-10466 (SCC)
                                         Debtors.                                  :
                                                                                   :   (Jointly Administered)
---------------------------------------                                            :
                                                                                   :
DAVID MACGREEVEY, in his capacity as                                               :
PLAN ADMINISTRATOR,                                                                :   Adv. Pro. No. 17-01101 (SCC)
                                                                                   :
                                           Plaintiff,                              :
                                                                                   :
                        v.                                                         :
                                                                                   :
NYAM, LLC,                                                                         :
                                                                                   :
                                         Defendant                                 :
                                                                                   :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                      NOTICE OF APPEAL AND STATEMENT OF ELECTION




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      Part 1: Identify the appellant(s)

         1. Name(s) of appellants(s):
            NYAM, LLC

         2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is
            subject of this appeal:

               For appeals in an adversary proceeding. For appeals in a bankruptcy case and not
                      Plaintiff                        an adversary proceeding.
                      Defendant                               Debtor
                      Other (describe) _________              Creditor
                                                              Trustee
                                                              Other (describe)_________

      Part 2: Identify the subject of this appeal

      Describe the judgment, order, or decree appealed from: Order Granting Plaintiff’s Motion
      for Partial Summary Judgment (Bankr. S.D.N.Y. Case No. 17-10466 (SCC)/Adv. Pro.
      Case No. 17-01101 (SCC)); [Adv. Pro. Docket No. 37])

         1. State the date on which the judgment, order, or decree was entered: March 13, 2019

      Part 3: Identify the other parties to the appeal

      List the names of all parties to the judgment, order, or decree appealed from and the names,
      addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

      1. Party:       David MacGreevey, Attorney:          Pachulski Stang Ziehl & Jones LLP
                      in his capacity as                   Robert J. Feinstein
                      Plan Administrator                   Bradford J. Sandler
                                                           780 Third Avenue, 34th Floor
                                                           New York, NY 10017
                                                           Tel: (212) 561-7700

      2. Party:       NYAM, LLC             Attorney:      Griffin Hamersky LLP
                                                           Scott A. Griffin
                                                           Michael D. Hamersky
                                                           Richard K. Milin
                                                           420 Lexington Avenue, Suite 400
                                                           New York, NY 10170
                                                           Tel: (646) 998-5580




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      Part 4: Optional election to have appeal heard by District Court (applicable only in
      certain districts)

      If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy
      Appellate Panel will hear this appeal unless, pursuant to 28 U.S.C. §158(c)(1), a party
      elects to have the appeal heard by the United States District Court. If an appellant filing
      this notice wishes to have the appeal heard by the United States District Court, check
      below. Do not check the box if the appellant wishes the Bankruptcy Appellate Panel to
      hear the appeal.

                  Appellant(s) elect to have the appeal heard by the District Court rather than by
               the Bankruptcy Appellant Panel:


      Part 5: Sign below


      By:__/s/_Michael D. Hamersky________                           Date: March 26, 2019___
      Signature of attorney for appellant(s) (or appellant(s)
      If not represented by an attorney)

      Name, address, and telephone number of attorney
      (or appellant(s) if not represented by an attorney:

      Scott A. Griffin
      Michael D. Hamersky
      Richard K. Milin
      Griffin Hamersky LLP
      420 Lexington Avenue, Suite 400
      New York, New York 10170
      Telephone: (646) 998-5580


      Fee waiver notice: If appellant is a child support creditor or its representative and appellant
      has filed the form specified in §304(g) of the Bankruptcy Reform Act of 1994, no fee is
      required.




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Counsel for NYAM, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - x
In re:                                                                               :
                                                                                     :   Chapter 11
BCBG MAX AZRIA GLOBAL HOLDINGS, LLC, et al., :
                                                                                     :   Case No. 17-10466 (SCC)
                                         Debtors.                                    :
                                                                                     :   (Jointly Administered)
---------------------------------------                                              :
                                                                                     :
DAVID MACGREEVEY, in his capacity as                                                 :
PLAN ADMINISTRATOR,                                                                  :   Adv. Pro. No. 17-01101 (SCC)
                                                                                     :
                                           Plaintiff,                                :
                                                                                     :
                        v.                                                           :
                                                                                     :
NYAM, LLC,                                                                           :
                                                                                     :
                                         Defendant                                   :
                                                                                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                                 NOTICE OF APPEAL




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         PLEASE TAKE NOTICE that NYAM, LLC, by and through its undersigned counsel,

hereby files this notice of appeal pursuant to 28 U.S.C. § 158(a)(1), to the United States District

Court for the Southern District of New York from the Order Granting Plaintiff’s Motion for

Partial Summary Judgment, dated March 13, 2019 (the “Summary Judgment Order”). A copy of

the Summary Judgment Order is annexed hereto as Schedule “A”. Appeal is taken from the each

and every part of the Summary Judgment Order.

         The names of all parties to the Summary Judgment Order appealed from and the names,

addresses, and telephone numbers of their respective attorneys are as follows:

         Party: David MacGreevey,            Attorney:      Pachulski Stang Ziehl & Jones LLP
                in his capacity as                          Robert J. Feinstein
                Plan Administrator                          Bradford J. Sandler
                                                            780 Third Avenue, 34th Floor
                                                            New York, NY 10017
                                                            Tel: (212) 561-7700

Dated:    New York, New York
          March 26, 2019
                                             GRIFFIN HAMERSKY LLP

                                             By: /s/ Michael D. Hamersky
                                             Michael D. Hamersky
                                             Scott A. Griffin
                                             Richard K. Milin
                                             420 Lexington Ave, Suite 400
                                             New York, New York 10170
                                             Telephone: (646) 998-5580
                                             Facsimile: (646) 998-5574

                                             Counsel for Defendant, NYAM, LLC




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                               Schedule A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
BCBG MAX AZRIA GLOBAL                                          :   Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,                                         :
                                                               :   Jointly Administered
                                                               :
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :   Adv. Pro. No. 17-01101 (SCC)
                                                               :
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                            ORDER GRANTING PLAINTIFF’S
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

        The matter having come before the Court on Plaintiff’s Motion for Partial Summary

Judgment (“Plaintiff’s Summary Judgment Motion”) filed by David MacGreevey (the

“Plaintiff”), solely in his capacity as plan administrator, and Defendant NYAM, LLC’S Cross-

Motion for Summary Judgment (the “NYAM Summary Judgment Motion”, and together with

Plaintiff’s Summary Judgment Motion, the “Motions”); and the Court having considered the

Motions, the declarations and other evidence submitted in support of the Motions, all responses

to the Motions, and the arguments presented by counsel; and it appearing, for the reasons stated

on the record at the March 5, 2019 hearing on the Motions (the “Hearing”), that good cause




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exists to grant the relief requested in Plaintiff’s Summary Judgment Motion; it is hereby1

          ORDERED that Plaintiff’s Summary Judgment Motion is GRANTED; and it is further

ORDERED that NYAM’s Summary Judgment Motion is denied for the reasons set forth on the

record of the Hearing; and it is further

          ORDERED that NYAM is liable to the Plaintiff in the amount of $675,000.00; and it is

further

          ORDERED that NYAM's second affirmative defense of setoff is dismissed in its entirety;

and it is further

          ORDERED that the Clerk of the Court is directed to enter judgment against NYAM in

the amount of $675,000.00 plus interest at the federal judgment rate from the date when such

judgment becomes final and non-appealable, until paid in full; and it is further

          ORDERED this Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order and/or Judgment.


New York, New York
Dated: March 13, 2019
                                                   /S/ Shelley C. Chapman
                                                   UNITED STATES BANKRUPTCY JUDGE




1
    Capitalized terms not defined herein shall have the meanings ascribed to such terms in Plaintiff’s Summary
    Judgment Motion or, if not defined in the Motion, in the Memorandum of Law in Support of Plaintiff’s Motion
    for Partial Summary Judgment.
                                                     -2-
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